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                                    United States District Court
                                       District of Columbia

David O’Connell, individually                 §
and on behalf of all others                   §
similarly situated,                           §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §       Case no. 1:20-cv-01365-JMC
                                              §
United States Conference of                   §
Catholic Bishops,                             §       Class Action
                                              §
       Defendant.                             §



                                      Joint Status Report

       Plaintiff David O’Connell, individually and on behalf of all others similarly situated, and

Defendant United States Conference of Catholic Bishops jointly report to the Court pursuant to

the Court’s Minute Entry of January 10, 2024, as follows:

       1.       On December 22, 2023, in Case No. 23-7173, the United States Court of Appeals

for the District of Columbia Circuit, on its own motion, ordered Defendant United States

Conference of Catholic Bishops to “show cause . . . why its appeal from an interlocutory order of

[this Court] should not be dismissed for lack of jurisdiction.”

       2.       On January 22, 2024, Defendant United States Conference of Catholic Bishops

filed its response to the show cause order.

       3.       Other than an entry of appearance, no further action has been taken by the parties

or the Court of Appeals in Case No. 23-7173.
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Respectfully submitted,


/s/ Martin Woodward                       /s/ Emmet T. Flood (with permission)

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 Counsel for Plaintiff David
 O’Connell and the proposed Class




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                                      Certificate of service

       I hereby certify that on February 8, 2024, a copy of this document was filed electronically
on the CM/ECF system, which will automatically serve a Notice of Electronic Filing on all
counsel of record.


                                             /s/ Martin Woodward
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